      Case 1:23-cv-01599-ABJ-ZMF Document 74 Filed 06/21/23 Page 1 of 12




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE COMMISSION,

                             Plaintiff,

                   v.                                     No. 1:23-cv-01599 (ABJ)
BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS INC.,
AND CHANGPENG ZHAO,

                             Defendants.


    DEFENDANTS BAM TRADING SERVICES INC., BAM MANAGEMENT US
  HOLDINGS INC., BINANCE HOLDINGS LIMITED, AND CHANGPENG ZHAO’S
   MOTION FOR AN ORDER DIRECTING COUNSEL FOR PLAINTIFF SEC TO
            COMPLY WITH APPLICABLE RULES OF CONDUCT

       Defendants BAM Trading Services Inc., BAM Management US Holdings Inc., Binance

Holdings Limited, and Changpeng Zhao (together, “Defendants”) respectfully request that the

Court enter the proposed order attached hereto. The grounds for this motion are further set forth

in the supporting memorandum, dated June 21, 2023. Counsel for Defendants have conferred with

counsel for Plaintiff Securities and Exchange Commission, which opposes this motion.
     Case 1:23-cv-01599-ABJ-ZMF Document 74 Filed 06/21/23 Page 2 of 12




Dated: June 21, 2023                     Respectfully submitted,

/s/ William R. McLucas                   /s/ George S. Canellos
William R. McLucas (pro hac vice)        George S. Canellos (pro hac vice)
Matthew T. Martens (D.C. Bar #1019099)   Adam J. Fee (pro hac vice)
Matthew Beville (pro hac vice)           Matthew J. Laroche (pro hac vice)
WILMER CUTLER PICKERING HALE             MILBANK LLP
AND DORR LLP                             55 Hudson Yards
2100 Pennsylvania Avenue NW              New York, NY 10001
Washington, DC 20037                     GCanellos@milbank.com
William.McLucas@wilmerhale.com           AFee@milbank.com
Matthew.Beville@wilmerhale.com           MLaroche@milbank.com
Matthew.Martens@wilmerhale.com
                                         Andrew M. Leblanc (D.C. Bar #479445)
Tiffany J. Smith (pro hac vice)          MILBANK LLP
WILMER CUTLER PICKERING HALE             1850 K Street, NW, Suite 1100
AND DORR LLP                             Washington, D.C. 20003
7 World Trade Center                     ALeblanc@milbank.com
250 Greenwich Street
New York, NY 10007                       Attorneys for Defendants BAM Trading Services
Tiffany.Smith@wilmerhale.com             Inc. and BAM Management Holdings US Inc.

Attorneys for Defendants BAM Trading
Services Inc. and BAM Management         /s/ Daniel W. Nelson
Holdings US Inc.                         Michael Celio (pro hac vice)
                                         GIBSON, DUNN & CRUTCHER LLP
                                         1881 Page Mill Road
                                         Palo Alto, CA 94304-1211
                                         MCelio@gibsondunn.com

                                         Mary Beth Maloney (pro hac vice)
                                         GIBSON, DUNN & CRUTCHER LLP
                                         200 Park Avenue
                                         New York, NY 10166-0193
                                         MMaloney@gibsondunn.com

                                         Daniel W. Nelson (D.C. Bar #433415)
                                         Jason J. Mendro (D.C. Bar #482040)
                                         Stephanie Brooker (pro hac vice)
                                         M. Kendall Day (pro hac vice pending)
                                         Richard W. Grime (pro hac vice pending)
                                         GIBSON, DUNN & CRUTCHER LLP
                                         1050 Connecticut Avenue, N.W.
                                         Washington, D.C. 20036-5306
                                         DNelson@gibsondunn.com
                                         JMendro@gibsondunn.com
                                         SBrooker@gibsondunn.com
Case 1:23-cv-01599-ABJ-ZMF Document 74 Filed 06/21/23 Page 3 of 12




                              KDay@gibsondunn.com
                              RGrime@gibsondunn.com

                              Attorneys for Defendant Binance Holdings Limited


                              /s/ Abid R. Qureshi
                              Abid R. Qureshi (D.C. Bar No. 459227)
                              William R. Baker, III (D.C. Bar No. 383944)
                              Michael E. Bern (D.C. Bar No. 994791)
                              LATHAM & WATKINS LLP
                              555 Eleventh Street, NW, Suite 1000
                              Washington, DC 20004
                              Tel: (202) 637-2200
                              Fax: (202) 637-2201
                              abid.qureshi@lw.com
                              william.baker@lw.com
                              michael.bern@lw.com

                              Douglas K. Yatter (pro hac vice)
                              Benjamin Naftalis (pro hac vice)
                              LATHAM & WATKINS LLP
                              1271 Avenue of the Americas
                              New York, NY 10020
                              Tel: (212) 906-1200
                              Fax: (212) 751-4864
                              douglas.yatter@lw.com
                              benjamin.naftalis@lw.com

                              Heather A. Waller (pro hac vice)
                              LATHAM & WATKINS LLP
                              330 North Wabash Avenue, Suite 2800
                              Chicago, IL 60611
                              Tel: (312) 876-7700
                              Fax: (312) 993-9767
                              heather.waller@lw.com

                              Melanie M. Blunschi (pro hac vice)
                              LATHAM & WATKINS LLP
                              505 Montgomery Street, Suite 2000
                              San Francisco, CA 94111-6538
                              Tel: (415) 391-0600
                              Fax: (415) 395-8095
                              melanie.blunschi@lw.com

                              Attorneys for Defendant Changpeng Zhao
    Case 1:23-cv-01599-ABJ-ZMF Document 74 Filed 06/21/23 Page 4 of 12




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE COMMISSION,

                      Plaintiff,

              v.                             No. 1:23-cv-01599 (ABJ)
BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS INC.,
AND CHANGPENG ZHAO,

                      Defendants.


MEMORANDUM IN SUPPORT OF DEFENDANTS BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS INC., BINANCE HOLDINGS LIMITED, AND
 CHANGPENG ZHAO’S MOTION FOR AN ORDER DIRECTING COUNSEL FOR
   PLAINTIFF SEC TO COMPLY WITH APPLICABLE RULES OF CONDUCT
      Case 1:23-cv-01599-ABJ-ZMF Document 74 Filed 06/21/23 Page 5 of 12




       On the morning of June 17, 2023, the Court entered a Consent Order governing, among

other things, the control of BAM Trading Services Inc. (together with BAM Management US

Holdings Inc., “BAM”) customer assets, which was negotiated by the parties with the assistance

of Magistrate Judge Faruqui. Dkt. 71. Minutes later, the Securities and Exchange Commission

(“SEC”) issued a misleading press release stating that the Consent Order was “essential to

protecting investor assets” because “Changpeng Zhao and Binance have control of the [BAM]

platforms’ customers’ assets and have been able to commingle customer assets or divert customer

assets as they please.” Declaration of Adam J. Fee dated June 19, 2023 (“Fee Decl.”) Ex. 1. Yet,

as the SEC acknowledged to the Court just days earlier, the SEC has no evidence that BAM

customer assets have been dissipated, commingled, or misused in any way.

       The SEC’s press release is disappointing given the SEC’s prior concessions before this

Court about its lack of evidence on this issue and the fact that Defendants worked in good faith

before and after the Complaint was filed to address the SEC’s unsubstantiated concerns about

BAM customer assets.     The SEC’s press release also appears to be designed to introduce

unwarranted confusion into the marketplace, which could have the effect of harming BAM

customers rather than protecting them. It also risks tainting the jury pool with misleading

descriptions of the evidence concerning the Defendants.

       For these reasons, as outlined below, Defendants BAM, Binance Holdings Limited, and

Changpeng Zhao (collectively, “Defendants”) respectfully request that the Court issue an order

directing counsel for the SEC to comply with all applicable rules of conduct concerning

extrajudicial statements, including Rule 3.6 of the D.C. Rules of Professional Conduct, which

provides that counsel cannot make misleading extrajudicial statements that may materially impact

court proceedings.



                                              -1-
      Case 1:23-cv-01599-ABJ-ZMF Document 74 Filed 06/21/23 Page 6 of 12




                                        BACKGROUND

       As set forth in the declarations accompanying BAM’s opposition to the SEC’s Emergency

Motion for a Temporary Restraining Order (Dkt. 40, “BAM Opposition” or “BAM Opp.”), BAM

customer fiat and crypto assets are secure; the SEC’s motion did not identify a single instance in

which BAM customer assets were mishandled or misused; and there was no “emergency” because,

among other reasons, BAM had been cooperating in good faith with the SEC for years, knew that

the SEC planned to file claims for several weeks, and had been negotiating a stipulation addressing

the SEC’s concerns before the SEC’s motion was even filed. See BAM Opp. at 2-3; 11-15.

       During the June 13 hearing on the SEC’s motion, the Court repeatedly asked SEC counsel

whether it had any evidence that Defendants had misused, dissipated, or commingled BAM

customer assets. Indeed, the Court asked that question and made related inquiries to two SEC

attorneys on no less than a dozen occasions.1 SEC attorneys initially failed to provide answers

responsive to the Court’s question, but they eventually confirmed what Defendants argued in their

opposition briefs—there is no evidence that BAM customer assets have been misused or

dissipated:

       COURT:         Well, if you’re saying we need to shut down and impose this regime
                      on the U.S. companies because we’re concerned about the
                      dissipation of assets from the U.S. companies, I want to know,


1
        For example, the Court’s inquiries to one SEC attorney included: (i) “Can you clarify or
walk me through the transfers you allege were made specifically from the U.S. entities, as opposed
to the international Binance platform, to offshore accounts held by Zhao and how you know that
those were customer assets,” Fee Decl. Ex. 2 (transcript of June 13, 2023 hearing) at 30:6-10; (ii)
“[W]hat I want to know is where specifically are the allegations about transfers from BAM Trading
– BAM Trading – out, offshore, as opposed to the examples you’re giving me are still
Binance.com, not Binance.US.com,” id. at 32:1-4; (iii) “Q. I want to know, where have you made
a showing that it is the money from the U.S. companies that is moving out? A. It hasn’t happened
yet, Your Honor,” id. at 33:4-6; (iv) “But, I want to know, besides the interlocking relationships
then, what have you seen of money going out that supports those concerns,” id. at 34:1-3; see also
id. at 34:17-21, 35:5-8, 36:7-11, 36:20-24, 43:3-4, 44:6-9, 44:22-23, 44:25-45:2.

                                                -2-
      Case 1:23-cv-01599-ABJ-ZMF Document 74 Filed 06/21/23 Page 7 of 12




                       where have you made a showing that it is money from the U.S.
                       companies that is moving out?

       [SEC]:          It hasn’t happened yet, Your Honor.

       ....

       COURT:          I want to know, are [BAM] assets going offshore? . . . [A]re you
                       saying it’s happening or it’s not? And it’s kind of stunning to me
                       that I’ve now asked this question to each of [the SEC attorneys] five
                       times.

       [SEC]:          So currently the assets are not going offshore. . . . [W]e’re not seeing
                       any flows of money outside of the United States.

Fee Decl. Ex. 2 at 33:1-6; 44:22-45:9.

       The Court ultimately referred the parties to mediation before Judge Faruqui. The Court

explained that it was “looking for . . . some variation of what we almost already have, which is

something that permits BAM Trading to operate, permits the government to be comfortable that

the 2.2 billion is secure, [that] U.S. customer assets don’t leave the country and don’t leave the

U.S. company’s control, and that [the SEC] get[s] the additional information and documents that

[it is] seeking.” Id. at 54:12-18.

       With the assistance of Judge Faruqui, the parties ultimately agreed on the stipulated

Consent Order. In that order, the SEC withdrew its request for a total asset freeze and agreed that

BAM could continue operating in the ordinary course of business. BAM, in turn, agreed to provide

the SEC with a monthly summary of ordinary business expenses. Immediately following entry of

the Consent Order, the SEC issued a press release titled, “SEC Secures Emergency Relief to

Protect Binance.US Customers’ Assets.” Fee Decl. Ex. 1. Among other things, the press release

stated: “Given that Changpeng Zhao and Binance have control of the platforms’ customers’ assets

and have been able to commingle customer assets or divert customer assets as they please, as we

have alleged, these prohibitions are essential to protecting investor assets.” Id. (emphasis added).


                                                 -3-
      Case 1:23-cv-01599-ABJ-ZMF Document 74 Filed 06/21/23 Page 8 of 12




                                     APPLICABLE RULES

       Attorneys engaged in a case before the U.S. District Court for the District of Columbia

must comply with the Rules of Professional Conduct as adopted by the District of Columbia Court

of Appeals. D.D.C. LCvR 83.15(a). Rule of Professional Conduct 3.6 prohibits “[a] lawyer

engaged in a case being tried to a judge or jury” from “mak[ing] an extrajudicial statement that the

lawyer knows or reasonably should know will be disseminated by means of mass public

communication and will create a serious and imminent threat of material prejudice to the

proceeding.”

       SEC employees also are required to comply with the SEC’s Canons of Ethics (17 C.F.R.

§ 200.51-72, the “Canons of Ethics”) and Regulation Concerning Conduct of Members and

Employees and Former Members and Employees of the Commission (17 C.F.R. § 200.735-1-18,

the “Regulation Concerning Conduct”). 5 C.F.R. § 4401.101. The Canons of Ethics require an

SEC employee’s conduct “in the performance of the duties of his office” to be “beyond reproach.”

17 C.F.R. § 200.56. The Regulation Concerning Conduct mandates that “[i]n view of the effect

which Commission action frequently has on the general public, it is important that members,

employees, and special Government employees maintain unusually high standards of honesty,

integrity, impartiality and conduct.” 17 C.F.R. § 200.735-2.

                                          ARGUMENT

   THE COURT SHOULD ISSUE AN ORDER DIRECTING THE SEC TO FOLLOW
     APPLICABLE RULES CONCERNING EXTRAJUDICIAL STATEMENTS

       The SEC’s press release is misleading, contains statements that the SEC knows to be

unsupported by evidence, and is inconsistent with the rules of professional conduct.           At a

minimum, the SEC’s statement contravenes the principle that the SEC so frequently cites—it omits

material facts necessary to ensure the statements being made are not false and misleading. The


                                                -4-
      Case 1:23-cv-01599-ABJ-ZMF Document 74 Filed 06/21/23 Page 9 of 12




SEC’s statement that Defendants “have been able to commingle customer assets or divert customer

assets as they please” is directly contradicted by the SEC’s statements to the Court that the SEC

has no evidence of that ever occurring. See Fee Decl. Ex. 2 at 33:1-6; 44:22-45:9. Furthermore,

the SEC’s statements that it had “secured emergency relief” and that this relief was “essential to

protecting investor assets” are misleading given that the Consent Order was the result of weeks of

negotiations between the parties, was entered with Defendants’ consent, and there is no evidence

whatsoever that BAM customer assets are in danger.

       The SEC’s press release creates a risk of material prejudice to this proceeding. D.C. LCvR

83.15(a); D.C. Rule of Professional Responsibility 3.6. As explained in the BAM Opposition, the

mere filing of the SEC’s motion risked harming BAM’s customers, effectively ending BAM’s

business, and preventing BAM from defending itself in this litigation. During the TRO hearing,

the Court pressed the SEC on these issues, confirmed that the SEC had no evidence to support its

allegations that BAM had misused or dissipated customer assets, and reinforced that BAM should

be able to continue operating its business. Nevertheless, as soon as the Consent Order was entered,

the SEC immediately issued a press release reasserting unsupported allegations about the misuse

of customer assets that served only to reinforce confusion and uncertainty among BAM’s

customers and banking partners.

       The SEC’s press release also risks tainting the jury pool. It has been “long recognized that

adverse publicity can endanger the ability of a defendant to receive a fair trial.” Gannett Co., Inc.

v. DePasquale, 443 U.S. 368, 378 (1979); see also Warger v. Shauers, 574 U.S. 40, 50 (2014)

(“The Constitution guarantees both criminal and civil litigants a right to an impartial jury.”). This

is particularly so where, as here, the case has generated significant media attention. See Fourte v.

Country Wide Home Loans, Inc., 2009 WL 10744339, at *3 (D.N.J. July 31, 2009) (in cases with



                                                 -5-
     Case 1:23-cv-01599-ABJ-ZMF Document 74 Filed 06/21/23 Page 10 of 12




“overeager” media following, “court-imposed limitations on extrajudicial statements may be

necessary to adequately prevent tainting the jury pool and protect the defendants’ right to a fair

and impartial trial”). By making misleading assertions that clearly imply that Defendants have

dissipated BAM customer assets, potential jurors are left with the impression that Defendants have

improperly diverted customer assets and must have been engaged in wrongdoing.

       The SEC’s use of the phrase “as we have alleged” in the press release does not permit it to

make assertions for which it knows it has no supporting evidence. The placement of “as we have

alleged” after the assertion that Defendants “have been able to commingle customer assets or divert

customer assets as they please” suggests that the SEC’s “allegation” already has been proven. See,

e.g., United States v. Silver, 103 F. Supp. 3d 370, 378 (S.D.N.Y. 2015) (“[T]he Court does not . . .

accept the Government’s suggestion that any prejudicial effect of otherwise improper comments

is magically dispelled by sprinkling the words ‘allege(d)’ or ‘allegation(s)’ liberally throughout

the press conference or speech, or by inserting a disclaimer that the accused is ‘innocent unless

and until proven guilty’ at the end of an otherwise improper press release.”).

       Based on the foregoing, Defendants respectfully request that the Court issue the attached

Proposed Order directing counsel for the SEC to comply with all applicable rules of conduct

concerning extrajudicial statements, including D.C. Professional Rule of Conduct 3.6. Doing so

will help ensure that the SEC’s public statements do not further prejudice Defendants and

materially impact this proceeding.

                                         CONCLUSION

       For the foregoing reasons, the Court should enter the Proposed Order.




                                                -6-
     Case 1:23-cv-01599-ABJ-ZMF Document 74 Filed 06/21/23 Page 11 of 12




Dated: June 21, 2023                     Respectfully submitted,

/s/ William R. McLucas                   /s/ George S. Canellos
William R. McLucas (pro hac vice)        George S. Canellos (pro hac vice)
Matthew T. Martens (D.C. Bar #1019099)   Adam J. Fee (pro hac vice)
Matthew Beville (pro hac vice)           Matthew J. Laroche (pro hac vice)
WILMER CUTLER PICKERING HALE             MILBANK LLP
AND DORR LLP                             55 Hudson Yards
2100 Pennsylvania Avenue NW              New York, NY 10001
Washington, DC 20037                     GCanellos@milbank.com
William.McLucas@wilmerhale.com           AFee@milbank.com
Matthew.Beville@wilmerhale.com           MLaroche@milbank.com
Matthew.Martens@wilmerhale.com
                                         Andrew M. Leblanc (D.C. Bar #479445)
Tiffany J. Smith (pro hac vice)          MILBANK LLP
WILMER CUTLER PICKERING HALE             1850 K Street, NW, Suite 1100
AND DORR LLP                             Washington, D.C. 20003
7 World Trade Center                     ALeblanc@milbank.com
250 Greenwich Street
New York, NY 10007                       Attorneys for Defendants BAM Trading Services
Tiffany.Smith@wilmerhale.com             Inc. and BAM Management Holdings US Inc.

Attorneys for Defendants BAM Trading
Services Inc. and BAM Management         /s/ Daniel W. Nelson
Holdings US Inc.                         Michael Celio (pro hac vice)
                                         GIBSON, DUNN & CRUTCHER LLP
                                         1881 Page Mill Road
                                         Palo Alto, CA 94304-1211
                                         MCelio@gibsondunn.com

                                         Mary Beth Maloney (pro hac vice)
                                         GIBSON, DUNN & CRUTCHER LLP
                                         200 Park Avenue
                                         New York, NY 10166-0193
                                         MMaloney@gibsondunn.com

                                         Daniel W. Nelson (D.C. Bar #433415)
                                         Jason J. Mendro (D.C. Bar #482040)
                                         Stephanie Brooker (pro hac vice)
                                         M. Kendall Day (pro hac vice pending)
                                         Richard W. Grime (pro hac vice pending)
                                         GIBSON, DUNN & CRUTCHER LLP
                                         1050 Connecticut Avenue, N.W.
                                         Washington, D.C. 20036-5306
                                         DNelson@gibsondunn.com
                                         JMendro@gibsondunn.com
                                         SBrooker@gibsondunn.com

                                          -7-
Case 1:23-cv-01599-ABJ-ZMF Document 74 Filed 06/21/23 Page 12 of 12




                               KDay@gibsondunn.com
                               RGrime@gibsondunn.com

                               Attorneys for Defendant Binance Holdings Limited


                               /s/ Abid R. Qureshi
                               Abid R. Qureshi (D.C. Bar No. 459227)
                               William R. Baker, III (D.C. Bar No. 383944)
                               Michael E. Bern (D.C. Bar No. 994791)
                               LATHAM & WATKINS LLP
                               555 Eleventh Street, NW, Suite 1000
                               Washington, DC 20004
                               Tel: (202) 637-2200
                               Fax: (202) 637-2201
                               abid.qureshi@lw.com
                               william.baker@lw.com
                               michael.bern@lw.com

                               Douglas K. Yatter (pro hac vice)
                               Benjamin Naftalis (pro hac vice)
                               LATHAM & WATKINS LLP
                               1271 Avenue of the Americas
                               New York, NY 10020
                               Tel: (212) 906-1200
                               Fax: (212) 751-4864
                               douglas.yatter@lw.com
                               benjamin.naftalis@lw.com

                               Heather A. Waller (pro hac vice)
                               LATHAM & WATKINS LLP
                               330 North Wabash Avenue, Suite 2800
                               Chicago, IL 60611
                               Tel: (312) 876-7700
                               Fax: (312) 993-9767
                               heather.waller@lw.com

                               Melanie M. Blunschi (pro hac vice)
                               LATHAM & WATKINS LLP
                               505 Montgomery Street, Suite 2000
                               San Francisco, CA 94111-6538
                               Tel: (415) 391-0600
                               Fax: (415) 395-8095
                               melanie.blunschi@lw.com

                               Attorneys for Defendant Changpeng Zhao


                                -8-
